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                                                                                                                E-FILED
                                                                                     Tuesday, 01 June, 2021 05:37:40 PM
                                                                                           Clerk, U.S. District Court, ILCD
                                           IN THE UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF ILLINOIS
                                                   SPRINGFIELD DIVISION

                        UNITED STATES OF AMERICA,

                              Plaintiff,

                                    v.                                    No.: 19-CR-30067

                        TODD SHEFFLER,
                        WILLIE HEDDEN, and
                        ALEX BANTA

                              Defendant.


                         DEFENDANT BANTA’S PROPOSED VOIR DIRE QUESTIONS

                             Defendant ALEX BANTA, by his attorneys, pursuant to Federal

                        Rule of Criminal Procedure 24(a), requests the Court to propound the

                        following voir dire questions in the selection of the jury or, in the

                        alternative, to allow Defendant Banta’s attorneys to pose these questions

                        to potential jurors.

                             Defendant Banta’s Points and Authorities in support for

                        propounding his proposed voir dire questions: Defendant Alex

                        Banta is entitled to a jury trial in which the jurors are fair and impartial.

                        U.S. Const. VI Amend.; Turner v. United States, 379 U.S. 466, 471-472

                        (1965)     The purpose of the voir dire process is to ensure as much as

                        possible that the selected jurors are fair and impartial. Tanner v. United
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                        States, 483 U.S. 107, 127 (1987) There is no generally accepted formula

                        for determining the appropriate breadth and depth of the voir dire, except

                        that the court's discretion is "subject to the essential demands of

                        fairness." Aldridge v. United States, 283 U.S. 308, 310 (1931)

                             Potential jurors who evidence actual bias, whether admitted or

                        presumed, can be excluded for cause. United States v. Brodnicki, 516 F.3d

                        570, 574 (7th Cir. 2008) The Supreme Court has said that ". . . the trial

                        court has a serious duty to determine the question of actual bias," Dennis

                        v. United States, 339 U.S. 162, 168 (1950), and that "all persons otherwise

                        qualified for jury service are subject to examination as to actual bias."

                        United States v. Wood, 299 U.S. 123, 133 (1936). Jury service by a person

                        with actual bias in a particular case would violate the right to an

                        impartial jury.

                             Even though a potential juror does not evidence actual bias

                        necessitating their exclusion for cause, Defendant Banta is entitled to

                        exclude a limited number of potential jurors for any non-discriminatory

                        reason using preemptor challenges. Swain v. Alabama, 380 U.S. 202, 220

                        (1965) and Federal Rule of Criminal Procedure 24(b); accord United

                        States v. Smallwood, 188 F.3d 905, 915 (7th Cir. 1999).

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                             In order to make such challenges meaningful, both for cause and

                        preemptory, the Court must allow Defendant Banta to explore the

                        backgrounds and attitudes of the potential jurors. Kiernan v. Van Schaik,

                        347 F.2d 775, 779 (3d Cir., 1965); United States v. Esquer, 459 F.2d 431

                        (7th Cir., 1972); United States v. Lewin, 467 F.2d 1132 (7th Cir., 1972).

                        “Courts have consistently held that the trial court, when endeavoring

                        to preserve that right, should permit a reasonably extensive examination

                        of prospective jurors so that the parties have a basis for an intelligent

                        exercise of the right to challenge.” Fietzer v. Ford Motor Co., 622 F.2d

                        281, 284 (7th Cir. 1980)

                             In United States v. Lewin, 467 F.2d 1132 (7th Cir. 1972), a criminal

                        case in which voir dire was conducted pursuant to Rule 24(a), Federal

                        Rules of Criminal Procedure, the Seventh Circuit held that the trial court

                        may abuse its discretion when limitations placed on the parameters of

                        voir dire threaten to undermine the purpose for conducting an

                        examination of prospective jurors:      the trial court "must exercise its

                        discretion so as not to block the reasonable exploration of germane factors

                        that might expose a basis for challenge, whether for cause or

                        peremptory." Id. at 1138.

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                             As stated by the Seventh Circuit, “[a]t a minimum, when requested

                        by counsel, inquiry must be made into matters where the likelihood of

                        prejudice is so great that not to inquire would risk failure in assembling

                        an impartial jury.”   United States v. Dellinger, 472 F.2d 340, 368 (7th

                        Cir. 1972)

                             One issue presented by the facts of this case is possible racial bias,

                        as the accused officers are Caucasian and the inmate who is alleged to

                        have been assaulted is African-America. Moreover, the issue of racial

                        bias where police use of force is involved, has and continues to be an on-

                        going subject of print and electronic news stories and opinion pieces.

                        Where racial bias may be perceived by jurors as an issue in a case, and a

                        defendant requests voir dire on the subject, as does Defendant Banta, it

                        is an abuse of discretion to refuse the request. Ham v. South Carolina,

                        409 U.S. 524, 526-27 (1973); United States v. Booker, 480 F.2d 1310, 1311

                        (7th Cir. 1973).



                             A.   The following are voir dire questions related to the
                        coronavirus on which Defendant Banta requests that the Court
                        voir dire the prospective jurors or permit Defendant Banta’s
                        attorneys to voir dire the prospective jurors:

                             COVID Related Questions: As we are all aware, we are living in a
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                        time where there is a serious virus that is going around, referred to as

                        the coronavirus or COVID-19. This virus has affected our personal and

                        working lives as far as what we may do to protect ourselves from

                        becoming infected by the virus. This virus has also caused governmental

                        bodies at the state and local level to put in place various restrictions in

                        an effort to mitigate the effects of the virus. Vaccines to address the virus

                        have now become available and appears to mitigate the effects of the

                        virus.

                              In view of this, we would like to ask you the following questions, as

                        they may bear upon your qualifications to serve as a fair and impartial

                        juror in this case:

                              1.     How concerned are you about potentially exposing others to

                        COVID-19, or yourself being exposed to COVID-19, as a result of your

                        jury duty?

                              2.     To the best of your knowledge, have you, or has anyone in your

                        household, or has anyone you care for, recently been exposed to COVID-

                        19?

                              3.     The Court will be implementing procedures to minimize your

                        potential exposure to COVID-19 in the courthouse, in this courtroom, and

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                        in the jury room. Even with these precautions, do any of you have any

                        concerns related to COVID-19 that may affect your ability to pay

                        attention and concentrate on the evidence in this case? Do you believe

                        that you can set aside those concerns and pay attention and concentrate

                        on the evidence in this case as if no virus issue existed?

                             4.    In the last 14 days, have you, or has anyone in your household,

                        or has anyone that you care for, been planning on taking a COVID test

                        but have not done so yet?

                             5.     Are you, or is anyone in your household, or is anyone that

                        you care for, awaiting any COVID test results?

                             6.    Have you, or has anyone in your household, or has anyone

                        that you care for, been informed that you or they have tested positive for

                        COVID? When did you/they get the positive test result?

                             7.    Have you, or has anyone in your household, or has anyone

                        that you care for, been required in the last 14 days to quarantine because

                        of a doctor’s order or by reason of some other mandatory requirement.

                             8.    Have you, or has anyone in your household, or has anyone

                        that you care for, voluntarily quarantined in the last 14 days.



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                             9.     In the last 14 days, have you, or has anyone in your household,

                        or has anyone that you care for, been ill or had symptoms of an illness

                        such as fever, coughs, shortness of breath, congestion, or other

                        respiratory problems?

                             10.    Do you believe that you would be more likely to contract the

                        coronavirus by appearing at court for the trial of this case?

                             11.    Does the sound of someone in the room coughing or sneezing

                        trigger concerns that you might contract the coronavirus from them?

                             12.    If you were compelled to come into the courthouse or sit on the

                        jury, how afraid would you be on a scale of 1-10 (1 being no fear and 10

                        being extreme fear) that you would expose other people in your household

                        or other people you care for to the COVID-19 virus?

                             13.    Does the fact that you are being compelled to attend this court

                        proceeding, and perhaps be selected as a juror, weigh upon you such that

                        it might make it difficult to be a fair and impartial juror if you were so

                        selected?

                             14.    How do you feel about taking the coronavirus vaccine if you

                        were given the opportunity to receive that vaccine?



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                              15.   If selected as a juror, would you be agreeable to promptly

                        informing the Court if you, a member of your household, or someone that

                        you care for, or someone you came in contact with, including another

                        juror, appears to be ill?

                              16.   If selected as a juror, would you be agreeable to promptly

                        informing the Court if you, a member of your household, received a

                        COVID test? of the results of any such COVID test?

                              17.   In view of the coronavirus, would you be inclined to change

                        your verdict to agree with others, or compromise with other jurors, in

                        order to end deliberations faster so you could leave the courthouse

                        sooner?

                              18.   Have you posted anything on social media (Facebook, Twitter,

                        Instagram, blog posts, and the like) expressing your views about wearing

                        masks, social distancing, or anything else about the coronavirus or any

                        government actions taken in response to the coronavirus?

                              19.   Have you protested either publicly or at work any stay-at-

                        home type orders or mandatory mask orders?



                            B.  The following voir dire questions address subjects
                        which are reflected in the Magistrate’s “Juror Questions In
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                        Criminal Cases” and also those which other Judges in this Court
                        have routinely posed to potential jurors. In addition, Defendant
                        Banta has set forth additional questions that he believes need to
                        be posed to potential jurors in order to ensure a fair trial.

                             Where the subject matter of the question is contained in
                        whole or in part in the Federal Magistrate’s “Juror Questions In
                        Criminal Cases”, those questions contain the reference
                        “[TSH__]”, with the blank being the number of the question as set
                        out in the Magistrate’s “Juror Questions In Criminal Cases”. The
                        reference “[SEM__]” is to questions set out in Judge Sue E.
                        Myerscough’s “General Voir Dire Procedure and Court’s
                        Proposed Voir Dire.”


                             1.    Medical/Physical Condition [TSH6]:          Do you have any

                        medical or physical condition, or are you presently taking any

                        medication, or do you have any hearing difficulties that might

                        make it difficult for you to serve as a juror in this case?

                                   Please explain [in private conversation].



                             2.    Knowledge of Any Other Jurors:         Do you know any of the

                        other potential jurors here today? Get details.



                        3.    Knowledge of the Parties [TSH18]: The parties involved in this

                        case are [identify]. Do you know or have you heard of any of

                        these parties?
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                             Who do you know?

                             Without going into any details, generally how is it that you know
                             that party?

                             Will your acquaintance with [name] affect your judgment as a
                             juror in this case? How so?
                             Will you be able to serve as a fair and impartial juror even if it
                             means that you may reach a decision that is not favorable to the
                             interests of [name]?


                             4.   Knowledge of Attorneys or Court Personnel [TSH17, 19]: Do

                        you know or have you heard of any of the defendants’ lawyers or

                        their law firms that are involved in this case?                  of the

                        Government’s lawyers that are involved in this case?

                             Do you know or have you heard of the U.S. Attorney’s office

                        or any employee of that office?

                             Which ones?

                             Without going into any details, generally how is it that you know
                             them?

                             Will your acquaintance with them affect your judgment as a juror
                             in this case? How so?

                             Will you be able to serve as a fair and impartial juror even if it
                             means that you may reach a decision that is not favorable to the
                             interests of [name]?


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                            Do you know any of the court personnel involved in this
                        case?
                            Who? How do you know that person?
                            For how long have you known that person?
                            Do you socialize with that person?         How frequently?
                            Do you believe that your relationship with “x” will make it difficult
                            for you to serve as a fair and impartial juror in this case?
                            If selected as a juror, do you understand that you should not speak
                            or communicate in any manner with “x” about this case?



                            At the Government’s counsel table is an agent with the FBI.

                        Do you know or are you acquainted with this FBI agent?

                            Do you know or are you acquainted with any other agents or
                            employees who work for the FBI?

                            Without going into any details, generally how is it that you know
                            that person?

                            Will your acquaintance with them affect your judgment as a juror
                            in this case? How so?

                            What if any feelings or opinions do you have about the FBI?

                            Will you be able to serve as a fair and impartial juror even if it
                            means that you may reach a decision that is not favorable to the
                            interests of [name]?




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                             5.    Knowledge of Witnesses [TSH20]:          One or more of the

                        following persons may testify in this case:

                             [READ LISTS]

                             Do any of you know any of these persons that I have named?

                             How do you know that person?

                             Would your acquaintance with that person affect your judgment as
                             a juror in this case? How so?


                             6.    Knowledge of Western IL Correctional Center: The events

                        in this case occurred at the Western Illinois Correctional Center

                        in Mt. Sterling, Illinois.

                             Do you know anyone who applied for a job at or who was or is
                             employed, or is or was in any way connected with Western Illinois
                             Correctional Center?

                             Who?      What is your/their connection to Western Illinois
                             Correctional Center?

                             Would this connection to Western Illinois Correctional Center affect
                             your judgment as a juror in this case? How so??


                             7.    Knowledge About This Case [TSH15, 16]: I have read you

                        a Statement about this case and identified for you the attorneys,

                        the parties, possible witnesses and possible event locations. Do


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                        any of you believe that you may have heard about or read about

                        anything that relates to this case?

                                  Do any of you believe that you may know anything

                        about the facts that relate to this case?

                             What have you heard/read/been told? [DO THIS AT SIDEBAR]

                             Based on what you have heard or read about this case, do you
                             believe as you sit here now that you have feelings about supporting
                             one side or the other in this case? [DO THIS AT SIDEBAR]

                             Is there anything about what you have heard/read/been told that
                             would make it difficult for you to serve as a fair and impartial juror
                             in this case? [DO THIS AT SIDEBAR]

                             Would you be able to disregard what you may have heard/read/been
                             told and decide this case solely on the evidence presented to you and
                             on the principles of law that the Court will instruct you? [DO THIS
                             AT SIDEBAR]


                             8.   Type of Case [TSH21][SEM8]: This case is a criminal case.

                             Do any of you feel that you would have any difficulty serving as a
                             fair and impartial juror in a criminal case? Why is that?

                             Have you, or has any family member, relative or close friend been
                             a victim of a crime or been affected in any way by criminal activity?
                             Please tell us about the circumstances of your/their connection to
                             the crime or the criminal activity.

                             Were there any court proceedings related to that matter that
                             you/they observed or were involved in?

                             What kind of crime? When did the crime occur?
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                             Did you/they suffer any kind of personal injury or loss of property?

                             Is there anything about the nature of this case that would affect
                             your ability to serve as a fair and impartial juror in this case?
                                   Why is that?

                             Do you believe that you could put aside your/their experience in
                             the matter that you have described in carrying out your duties as
                             a juror in this case?

                             Do you believe that you could serve as a fair and impartial juror in

                        this case and to decide this case on the evidence presented in this case

                        and the law as given to you by the Court in this case, without being

                        affected in any manner by your/their involvement in the other criminal

                        matter that you told us about?

                             9.    Jury Experience [TSH8]: Have you, or has any family

                        member, relative or friend, served as a juror in any federal or

                        state court trial proceeding or as a grand juror in any federal or

                        state matter?

                             Were any of the attorneys present here today involved in the case?

                             Were any of the persons I have identified to you as possible
                             witnesses involved in the case?

                             Was the trial proceeding a civil and criminal proceeding?

                             In that trial case did you/they deliberate to a verdict?
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                             What was the verdict?

                             In that grand jury matter did you/they vote to return an
                             indictment?

                             Was there anything about your/their experience as a juror that
                             might make it difficult for you to serve as a fair and impartial juror
                             in this case?


                             10.   Lawsuit Experience [TSH10, 12]: Have you, or has any

                        family member, relative or friend, ever been prosecuted for a

                        criminal offense or ever been a party to a civil lawsuit in any

                        federal or state court?

                                   Who? In what court? When?

                                   Was any federal or state government agency involved?
                                   Which one?

                                   Were you/they a plaintiff or a defendant?

                                   What type of lawsuit was it?

                                   When was that lawsuit?

                                   What was the outcome of that lawsuit?

                                   Were any of the attorneys present here today involved in the
                                   case?

                                   Would you say that your/their experience as a party to a
                                   lawsuit was a positive or a negative experience? Why so?


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                                   Was there anything about your/their experience in that
                                   lawsuit that might make it difficult for you to serve as a fair
                                   and impartial juror in this case?


                             11.   Incarceration:   Have you, or has any family member,

                        relative or friend, ever been incarcerated in a jail or a prison?

                                   When? For what offense?

                                   How much time did you/they serve?

                                   During your/their jail/prison term where you/they subjected
                                   to any disciplinary action for not following the jail/prison
                                   rules? [Get details]

                                   While incarcerated did you/they feel that you/they were
                                   wrongfully subjected to the use of force by correctional or jail
                                   personnel?

                                   Did you/they ever file a grievance or a lawsuit about that
                                   use of force?

                                   When? Where? Who was involved? Briefly describe what
                                   happened?

                                   What was the outcome of your/their grievance/lawsuit?
                                   Are you/they presently serving a term of probation or parole?

                                   Is there anything about your/their jail/prison experience that
                                   would make it difficult for you to serve as a fair and impartial
                                   juror in this case?




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                            12.      Witness Experience:         Have you, or has any family

                        member, relative or friend, ever been a witness in a federal or

                        state court proceeding, including any grand jury proceeding?

                                  Which court? What type of case?

                                  Were any of the attorneys present here today involved in the
                                  case?

                                  Were any of the persons I have identified to you as possible
                                  witnesses involved in the case?

                                  Was there anything about your/their experience as a witness
                                  that might make it difficult for you to serve as a fair and
                                  impartial juror in this case?


                            13.   Court or Law Firm Employment Experience {SEM8]: Have

                        you, or has any family member, relative or friend of yours, ever

                        applied for a job with or has been or is now employed by a court

                        or by a law firm or by a business that deals regularly with the

                        court system or law firms?

                                  By what court/firm?

                                  In what type of job where you/they employed?

                                  What are /were your/their job duties?

                                  Is there anything about your/their work experience that
                                  might make it difficult for you to serve as a fair and impartial
                                  juror in this case?
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                             14.   Law Enforcement and Government Employment Experience

                        [TSH13]: Have any of you, or has any relative, close friend or

                        other household member, applied for a job with or have worked

                        in a prosecutor’s office? in law enforcement? in a prison or jail?

                        for a probation office? as a security guard? for any federal, state

                        or local government agency or body? worked as military police?

                                   For whom did you/do you work?

                                   When were you so employed? For how long a period of time?

                                   In what capacity were you/are you employed?

                                   Describe your/their duties and responsibilities.

                                   What other positions or employment did you/they hold with
                                   that entity?

                                   What, if any rank or job title do you/did you last hold?

                                   To whom did you/do you report?

                                   If you answered this question about a relative, close friend or
                                   other household member, would you discuss their job and job
                                   experiences with them, or they with you? How often?

                                        What kind of things did you hear or learn about?

                                        Were specific cases discussed with you?


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                                         Did you discuss any views or opinions about law
                                         enforcement? about people who are arrested? about
                                         lawyers? about the criminal justice system?

                            Have you/they ever participated in a ride-a-long in a police car?
                            Which police agency?       How would you describe your/their
                            experience? Did you form any opinions about law enforcement as a
                            result of that experience?

                            Do you, or any family member or close friend, socialize with or
                            through your work or neighborhood have regular contact with
                            anyone who works in law enforcement, a correctional or prison
                            setting, in a probation or parole setting or in a security guard
                            setting?

                            Is there anything about your/their employment experiences that
                            might make it difficult for you to serve as a fair and impartial juror
                            in this case?


                            15.   Crime Victim Experience [TSH11]: Have you, or has any

                        relative, close friend or other household member ever filed a

                        police report?    Have you, or has any relative, close friend, or

                        other household member, ever called the police about anything?

                        Were you/they a victim of a crime?

                            Tell us about the circumstances that caused you/they to file a police
                            report or call the police.

                            Is there anything about that experience that you believe may affect
                            your ability to serve as a fair and impartial juror in this case?



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                             16.   Experience With Lawyers/Judges/Law Enforcement: Have

                        any of you, or has any family member, relative or friend, had any

                        experiences involving lawyers or judges or representatives of

                        law enforcement that might make it difficult for you to serve as

                        a fair and impartial juror in this case?

                                   Without telling us anything that is confidential, can you tell
                                   us what was the nature of the experience that you/they had?
                                   When did this occur?

                                   Were any of the attorneys present here today involved?

                                   Do you believe that you could sit as a juror in this case and
                                   render a fair and impartial verdict?


                             17.   Court Observation Experience: Have you observed any

                        court proceedings, other than as a party, a witness or a juror?

                                   When? How many times?          In which courthouse?

                                   What was the nature of the proceeding you were observing?

                                   Why were you observing the proceeding?

                                   How did your experience in observing the proceeding affect
                                   you?

                                   Did you form any opinions about court proceedings or the
                                   persons involved in the court proceedings by reason of what
                                   you observed?

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                                   Do you believe that your experiences in observing the court
                                   proceeding will in any way affect your ability to serve as a fair
                                   and impartial juror in this case?

                            18.    Elective/Appointive Officeholder Experience: Have you, or

                        has any family member, relative or friend, ever been elected to

                        or appointed to serve as a member of any federal, state or local

                        governmental agency or public body, including any law

                        enforcement related agency or body, either presently or in the

                        past?

                                   Which government agency or public body?

                                   In what capacity? When?

                                   Is there anything about your/their experience that might
                                   make it difficult for you to serve as a fair and impartial juror
                                   in this case?


                            19.    Illinois Department of Corrections:       Have you, or has any

                        family member, relative or friend ever been employed by or been

                        associated in any manner with the Illinois Department of

                        Corrections?     Or has been employed by or associated with a

                        company or vendor that does business with the Illinois

                        Department of Corrections?

                            Who?     Relationship?
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                            In what capacity?

                            Is there anything about your/their experience that might make it
                            difficult for you to serve as a fair and impartial juror in this case?


                            20.   Volunteer Experience: Have your, or has any close family

                        member or friend, ever worked as a volunteer for any law

                        enforcement agency, correctional department or institution, or

                        any other governmental agency?

                            Tell us what this volunteer experience involved? When? For how
                            long?

                             Why did you/they volunteer?

                            What did you/they do as a volunteer?

                            Is there anything about your/their volunteer experience that might
                            make it difficult for you to serve as a fair and impartial juror in this
                            case?


                            21.   Membership in Associations or Groups: Do any of you, does

                        any family member, relative or close friend belong to any

                        associations or groups who take an interest in the subject of law

                        enforcement?

                                  Do you, does any family member, relative or close



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                        friend belong to or are you or they involved in any manner in

                        crime prevention or law enforcement or neighborhood watch?

                                   What group or association?

                                   In what capacity were you/they affiliated with that group or

                        organization? [such as dues paying member, or also went to meetings, or

                        served on committees]

                                   How active would you say you/they are or have been with that

                        group or association?

                                   Did you/they hold any officer or director position with any

                        such group or organization?

                                   Were you/they involved in the publication or distribution of

                        any materials, either written or other media, for that group or

                        organization? Explain?

                                   Is there anything about your involvement with that group or

                        association that could affect in any manner your ability to be a fair and

                        impartial juror in this case?



                             22.   Correctional    Officer,   Law       Enforcement     and   Inmate

                        Witnesses/Parties:      There may be testimony in this case from

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                        persons who are employed as correctional officers or law

                        enforcement officers.

                              Have you, or has any family member or close friend ever had an

                        interaction with a law enforcement officer or correctional officer, where

                        you or they felt that they were treated unfairly?

                              Do you have any negative or positive ideas of feelings about prison

                    officials or correctional officers? If so, will that affect your ability to be a

                    fair and impartial juror?

                              Do any of you believe that because any such person is employed as

                        a correctional officer or law enforcement officer means that the testimony

                        of that person is to be given greater weight or credibility simply because

                        the person is employed as a correctional officer or law enforcement

                        officer?

                              Will you be able to evaluate the testimony of any person employed

                        as a correctional officer or law enforcement officer in the same manner

                        that you evaluate the testimony of any other witness in this case?



                              There may be testimony in this case from persons who are

                        or have been inmates in a prison. Are you, a close family member, or

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                        friend acquainted with any person who was or is now incarcerated in jail

                        or prison?

                             Do you have any negative or positive ideas or feelings about people

                        who are serving terms in prison? If so, will that affect your ability to be a

                        fair and impartial juror?

                             Do any of you believe that because any such person is or was prison

                        inmate means that the testimony of that person is to be given lessor

                        weight or credibility simply because the person was or is a prison inmate?

                             Will you be able to evaluate the testimony of any person who is or

                        was a prison inmate in the same manner that you evaluate the testimony

                        of any other witness in this case?

                             If, at the end of the trial the court gives you an instruction

                        that you should not give either greater or lesser weight to the

                        testimony of a witness just because the witness is a law

                        enforcement officer or a correctional officer or a prison inmate,

                        would you have difficulty following that instruction because of

                        feelings that you have, either positive or negative, about such

                        officer or inmate?



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                               23.   Healthcare Experience:      Have any of you, or has any

                        relative, close friend or other household member, worked in the

                        healthcare field, including as a doctor, nurse, an LPN, a CNA or

                        a nurse tech?

                               For whom did you/do you work?

                               When were you so employed? For how long a period of time?

                               In what capacity were you/are you employed?

                               Describe your/their duties and responsibilities.

                               What other positions or employment did you/they hold with that
                               entity?

                               To whom did you/do you report?

                               [If the juror worked in healthcare] As you heard from the Court’s

                        summary of the claims in this case, one claim involves Plaintiff’s claim

                        that he has a certain medical condition. Will you be able to put aside

                        your healthcare experiences and your healthcare knowledge and to

                        decide Plaintiff’s claim solely and only on the evidence presented to you

                        in this courtroom and the instructions of law which the Court will give to

                        you?




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                             24.     Involvement With Criminal Act: Have you ever witnessed

                        a criminal act for which you were not called into court to testify

                        about?

                             When did this take place? Where?

                             What was the nature of the criminal act?

                             Did you talk with the police about what you saw?

                             Were you asked to identify the person who was suspected of
                             committing the criminal act? Were you able to identify the suspect?

                             Is there anything about this experience that you believe may affect

                        your ability to serve as a fair and impartial juror in this case?



                             25.     Jail/Prison Visit Experience: Have any of you, or has any

                        close family member, friend or other household member, ever

                        visited a jail or prison?

                                     When did that occur?    On how many occasions?

                                     Why were you/they visiting?

                                     Is there anything about your/their experience which you

                        believe could affect your ability to serve as a fair and impartial juror in

                        this case?


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                                   [If the juror has such experience] Will you be able to put aside

                        your experiences and to decide Plaintiff’s claims solely and only on the

                        evidence presented to you in this courtroom and the instructions of law

                        which the Court will give to you?



                             26.   Knowledge of Prisoners/Ex-Offenders: Do you or does any

                        family member or close friend, know of anyone who is currently

                        in prison or who, in the past, served time in prison?

                                   Without telling us who, briefly describe who it is that knows

                        that person and how they know that person.

                                   Do you believe that there is anything about that experience

                        that might make it difficult for you to serve as a fair and impartial juror

                        in this case?


                             27.        The Fact of A Criminal Charge [TSH22]: Defendant Alex

                        Banta has been charged with committing a criminal act. Does the

                        fact that the Defendant has been charged with a crime affect your ability

                        to serve as a fair and impartial juror in this case?

                             Do you feel that persons who have had criminal charges brought

                        against them are most likely to be guilty of the charges?
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                              Why is that?

                              Do you believe that if the prosecution goes to the trouble of bringing

                        someone to trial that the person is probably guilty?

                              Why is that?

                              Do you understand that the fact that Alex Banta has been charged

                        with a crime or is brought to trial has no bearing in any way upon and

                        should not in any way be considered by you in this case as any evidence

                        of guilt?

                              Does the fact that the Defendant has been charged with a crime and

                        brought to trial make it difficult for you to presume the Defendant

                        innocent? To serve as a fair and impartial juror in this case?

                              Do you believe that a defendant would lie on the stand to avoid

                        being convicted of a crime?

                              Why?



                              28. Presumption of Innocence and Burden of Proof [TSH24, 25, 26,

                        28, 30]: Are any of you expecting Alex Banta to as a defendant to

                        put on some evidence that he is not guilty of the charges of which

                        he is accused?

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                             Are any of you expecting the Alex Banta to testify in this

                        case?

                             Would the fact that the Alex Banta does not testify in this

                        case cause you even the slightest doubt about his innocence?

                             Do you understand that under the principles of law in this country

                        that the Defendant has no obligation to produce any evidence in his

                        defense?

                             Do you understand that under the principles of law in this country

                        that the Defendant has no obligation to testify?

                             Do you understand that under the principles of law in this country,

                        that the prosecutor, and only the prosecutor, has the burden of proof in

                        this case?

                             Do you understand that under the principles of law in this country

                        that the prosecutor must prove the Defendant guilty by proof that

                        establishes beyond a reasonable doubt that the Defendant committed

                        the crimes charged?

                             Do any of you have any concerns about or personal beliefs or

                        feelings that cause you to disagree, even in the slightest, with any of

                        these principles of law?
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                             Do you understand that as a juror you are to decide this case solely

                        based upon the evidence presented in this courtroom and to apply the law

                        as provided to you by the Court, putting aside any sympathy or prejudice

                        you may have?

                             Will you able to faithfully and without hesitation, follow these

                        principles if you are selected as a juror in this case?




                             29.    Nature of the Charges [SEM8]: The charges against Alex

                        Banta are as follows:        Count I – Conspiracy to Deprive Civil

                        Rights; Count II – Deprivation of Civil Rights; Count 3 –

                        Conspiracy to Engage in Misleading Conduct; Count 9 –

                        Obstruction – Falsification of Document; and Count 10 –

                        Obstruction – Misleading Conduct.

                             Is there anything about the nature of the charges against the Alex

                        Banta that could affect your ability to serve as a fair and impartial juror

                        in this case?

                             Why is that?

                             Do you know of any reason why you may be prejudiced for or


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                        against the Government or for or against the Alex Banta because of the

                        nature of this case?

                             Knowing the nature of the charges in this case, do you believe that

                        you could serve as a fair and impartial juror in this case?


                             30.    Race [TSH29]: What kinds of experiences, if any, have you or

                        has any family member, relative or close friend, had over the years with

                        people of other races?

                                    Have your/they experienced any situations involving racial

                        tension that you or people you know have been involved in? What

                        happened?

                                    How have any of those experiences affected you?

                                    Will any of those experiences make it difficult for you to serve

                        as a fair and impartial juror in this case, knowing, as you do, that the

                        Plaintiff is an African-American and the Defendants are Caucasians?

                                    Have you been aware of any of other people who have

                        indicated that they have prejudices or stereotypes about someone

                        because of their race? How did you deal with that situation?




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                                   Do any of you have any feelings or beliefs about or towards

                        minorities or African-Americans that you believe might make it difficult

                        for you to serve as a fair and impartial juror in this case?

                                   Do you understand and accept without any reservations or

                        doubts that under the laws of the United States, all people, regardless of

                        their race, are entitled to equal treatment under the law?



                             31.   Juror Employment [TSH2]: Do you, because of the nature

                        of your employment, feel that you may not be able to judge this

                        case fairly and impartially?

                                   Why not?

                                   Have any of you, any member of your family, or any very close

                        personal friend ever engaged in investigating or otherwise acting upon

                        claims for damages?

                                   Do you believe that this will in any manner affect your ability

                        to be a fair and impartial juror in this case and to decide this case only

                        on the evidence presented to you in this courtroom?

                                   Why not? Explain?



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                             32.   Law Studies [TSH9]: Have any of you studied law or

                        taken any law courses?

                                   Tell us a little about your studies/courses?

                                   Is there anything about that experience that might make it

                        difficult for you to serve as a fair and impartial juror in this case?

                                   Do you have any family members, relatives or close friends

                        who have studied or taken any law courses?

                                   Would you be able to disregard what you may have learned in

                        your law studies/law courses, or what you may have heard or learned

                        from any family member, relative or close friend, and decide this case on

                        the principles of law that the Court will instruct you?



                             33.   Television: Do you watch lawyer, court or police related

                        television programs?

                                   Which ones?

                                   Which programs are your favorite programs? Why?

                                   How much of what you see do you believe is true?

                                   Has what you have seen and heard on these programs affected

                        your views about lawyers, courts and/or the police?

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                                   Do you believe that what you have seen and heard on these

                        programs will affect your ability to serve as a fair and impartial juror in

                        this case? How so?

                                   Do you believe that you can put out of your mind what you

                        have seen and heard on these programs and decide this case on the basis

                        of the evidence presented in the courtroom and on the principles of law

                        which the Court will instruct you?

                                   If selected as a juror in this case, would you be able to avoid

                        watching these television programs during the entire time period in

                        which you serve as a juror in this case?



                             34.   Publications: Which newspaper, magazine, newsletter or

                        other publications do you subscribe to or purchase regularly?

                                   Which ones? Frequency? For what length of time?

                                   Do you believe that what you have read in this/these

                        publications could affect your ability to serve as a fair and impartial juror

                        in this case? How so?

                                   Will you be able to avoid any newspaper or radio stories that

                        might report on this case?

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                             35.     Computers and Internet: Do you use a computer or other

                        electronic device in your home or at work that gives you access

                        to the Internet?

                                     How often on a daily or weekly basis do you access the

                        Internet?

                                     If selected as a juror in this case, and during the entire

                        time period of your jury service:

                                     A.   Will you be able to avoid using the Internet to research

                        or look up anything that you feel may have a bearing upon what you see

                        or hear in this courtroom or about any decision you may need to make in

                        this case?

                                     B.   Will you be able to avoid any newspaper or radio stories

                        that might report on this case?

                                     C. Do you understand that it is contrary to the oath that you

                        will take as a selected juror to be influenced by anything that you may

                        read or hear about this case in newspapers, on radio, from the Internet

                        or even from another person?



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                                     D. Do you understand that the reasons that it is contrary to

                        your oath is that such Internet items are not evidence in this case and

                        thus not proper for you to consider or be influenced by?



                             36.     Social Media: Do you use any social media such as

                        Facebook or Twitter?

                                     How often on a daily or weekly basis do you use social media?

                                     If selected as a juror in this case, and during the entire

                        time period of your jury service:

                                     A.   Will you be able to avoid using social media to research

                        or look up anything that you feel may have a bearing upon what you see

                        or hear in this courtroom or about any decision you may need to make in

                        this case?

                                     B.   Will you be able to avoid any social media sites which

                        may contain information on this case?

                                     C.   Do you understand that it is contrary to the oath that

                        you will take as a selected juror to be influenced by anything that you

                        may read or hear about this case in social media, newspapers, on radio,

                        from the Internet or even from another person?

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                                   D.    Do you understand that the reasons that it is contrary

                        to your oath is that such social media items are not evidence in this case

                        and thus not proper for you to consider or be influenced by?



                             37.     National News Stories – Blue Lives Matter; Black Lives

                        Matter; Defund The Police; Police Use Of Force; Prison Conditions:

                             A. Have you, or has a family member, been following news stories

                        over the last year or so about the Blue Lives Matter movement? Who?

                                   How have you been following these stories?

                                   How frequently have you read those stories?

                                   What are your views of the Blue Lives Matter movement?

                                   Have you participated in any way with that Movement? How?

                                   Have you given any financial support for that Movement?



                               B. Have you, or has a family member, been following news

                    stories over the last year or so about the Blue Lives Matter movement?

                    Who?

                                   How have you been following these stories?

                                   How frequently have you read those stories?

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                                  What are your views of the Blue Lives Matter movement?

                                  Have you participated in any way with that Movement? How?

                                  Have you given any financial support fit that Movement?



                              C. Have you, or has a family member, been following news

                    stories over the last year or so about what has been called the Defund

                    the Police movement? Who?

                                  How have you been following these stories?

                                  How frequently have you read those stories?

                                  What are your views of the Defund the Police movement?

                        Have you participated in any way with that Movement? How?

                                  Have you given any financial support fit that Movement?



                              D. Have you, or has a family member, been following news

                    stories over the last year or so about police use of force? Who?

                                  How have you been following these stories?

                                  How frequently have you read those stories?




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                                     Based upon what you have read or seen, or based upon what

                        family members have told or discussed with you, have you developed any

                        feelings about police and their use of force.

                                     Have you, any family member, or close friend seen the police

                        or anyone else use force against another person? Please explain.



                             E.      Have any of you read any books, reports, articles, or other

                        publications relating to the operation of jails or prisons and the

                        treatment of prisoners in Illinois or elsewhere in the United States? If so,

                        have you formed any opinions based upon what you have read?

                             What is that opinion?

                             Will anything you have read affect your ability to serve as a fair and

                        impartial juror?

                             Are any of you now or have any of you ever been, associated with

                        any group or organization that is concerned with the operation of jails or

                        prisons, the treatment of prisoners, or the reform of prisons in Illinois or

                        elsewhere?

                             If so, have you formed any opinions based upon this experience?



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                             Will that experience affect your ability to serve as a fair and

                        impartial juror?



                             38.   Distracting Concerns: Do you have any problems or areas

                        of concern at home or at work that might interfere with your

                        ability to serve as a juror during this trial?

                                   Please explain [in private conversation].



                             39.   Religious or Moral Views and Beliefs: Do you have any

                        religious or moral views or beliefs that might affect your ability

                        to serve as a fair and impartial juror in this case?

                                   Would you briefly explain what they are?

                                   Do you believe that those views might affect your ability to be

                        a fair and impartial juror in this case?

                                   Will you truly be able to set aside your personal religious or

                        moral views and beliefs and decide this case solely on the evidence that

                        is presented at trial and the instructions of law which the Court will give

                        to you.



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                             40. Formed Any Opinions During Voir Dire: As you sit here now,

                        and from what you have heard so far, have any of you formed or

                        expressed any opinion about this case?



                             41. Juror's Frame of Mind [TSH33]:            If you were either the

                        Government or a Defendant in this case here today as these

                        parties are, or if you were an attorney charged with the

                        responsibility of representing the Government or a Defendant in

                        this case, do you know of any reason why you would not be

                        content to have your case tried by someone that is in the same

                        frame of mind that you are in today?



                             42.   Anything Else Court Should Know: Is there anything you

                        have not told the Court that could affect your ability to make a

                        fair and impartial decision in this case?



                             43.   Length Of The Trial [TSH5]: This case may take two weeks

                        to try before it is turned over to you for your jury deliberations. Will the

                        possible length of this case pose any difficulties for any of you?

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                                                ALEX BANTA, Defendant,


                                           By: _/s/Stanley N. Wasser ________
                                               Stanley N. Wasser, #2947307
                                               One of His Attorneys
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                                           CERTIFICATE OF SERVICE

                              I hereby certify that on June 1, 2021, I electronically filed the
                        foregoing with the Clerk of the Court using the CM/ECF system which
                        will send notification of such filing to the following:

                                  Timothy A Bass         tim.bass@usdoj.gov

                                  William L Vig          bill@vig-law.com

                                  Mark Wycoff           mark@wycofflaw.com

                                  James Elmore          elmoreandreid@sbcglobal.net


                        and I hereby certify that I have mailed by United States Postal Service
                        the document to the following non-CM/ECF participants:

                                  Not Applicable


                                                           By: _/s/Stanley N. Wasser ________
                                                               Stanley N. Wasser, #2947307
                                                               One of His Attorneys
                                                               FeldmanWasser
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